        Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 1 of 15




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ANTONIA N. OKONKWO           )
                             )
     Plaintiff,              )
                             )                CIVIL ACTION
v.                           )
                             )                FILE NO.
THE CALLINS LAW FIRM, LLC )
                             )
     Defendant.              )
                             )                JURY TRIAL DEMANDED
____________________________ )

                                   COMPLAINT

      Plaintiff Antonia N. Okonkwo, on behalf of herself and others similarly

situated, sues Defendant The Callins Law Firm, LLC. demanding trial by jury -- and

alleges as follows:

                                    OVERVIEW

1) This is an action for overtime compensation brought pursuant to and arising under

   the Fair Labor Standards Act of 1938 (the “Act”), as amended, 29 U.S.C. §201,

   et seq.

2) This is an action for intentional and wilful refusal to pay vacation hours, bonuses,

   and overtime brought pursuant to and arising under the Fair Labor Standards Act

   1938 (the “Act”), as amended, 29 U.S.C. §201, et seq.
        Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 2 of 15




3) This is an action for falsifying employee labor record.

4) Plaintiff Okonkwo, on behalf of herself and others similarly situated, seeks

   payment for overtime, bonus, vacation hours, liquidated damages, and attorney’s

   fees and costs.

5) Plaintiff Okonkwo, on behalf of herself and others similarly situated, seeks an

   injunction deterring the Defendant Callins of unlawful and unfair business

   practices.

                         JURISDICTION AND VENUE

6) This Court has jurisdiction pursuant to 28 U.S.C. §1331, and of the Fair Labor

   Standards Act 29 U.S.C. §216(b).

7) Venue is proper pursuant to 28 U.S.C. §1391. The cause of action arose in Fulton

   County, Georgia, in the Northern District of Georgia.



                                    PARTIES

8) Plaintiff Antonia N. Okonkwo (“Plaintiff Okonkwo” or Ms. Okonkwo”) is a

   Citizen of the State of Georgia and resides at 1260 Rockbass Road, Suwanee,

   Georgia 30024. Ms. Okonkwo was an employee of The Callins Law Firm, LLC.

   from December 2008 to June 2014.




                                         2
        Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 3 of 15




9) Defendant, The Callins Law Firm, LLC. (“Defendant” or “Callins”) is a Georgia

   Limited Liability Company, and process may be served upon its registered agent,

   Joel Callins, at 4919 Van Cise Lane, Albany, Georgia 31721. Callins Law Firm

   is a firm engaged in the practice of law.

10)   Plaintiff Okonkwo, as an Associate Attorney employee of Callins Law Firm

   whose wages was determined per actual hours work, is entitled to the protections

   of the Act under 29 U.S.C. §203(e).

11)   Throughout Plaintiff Okonkwo’s employment, The Callins Law Firm, was at

   all times an employer engaged in the practice of law and therefore subject to the

   Act under 29 U.S.C. §203(b)&(d).

12)   The Defendant has violated the provisions of §§ 7 and 15(a) (2) of the FLSA

   [29 U.S.C. §§ 207 and 215(a) (2)]. Defendant violated the Act by employing

   employees engaged for work weeks longer than 40 hours without compensating

   them for their employment in excess of 40 hours at rates not less than one and

   one-half (1½) times the regular rates at which they were employed.

13)   Defendants’ violations of the FLSA were willful and without justification or

   excuse under 29 U.S.C. § 201 et seq. Based on Defendants’ willful violations,

   Plaintiffs seek unpaid compensation as well as liquidated damages and their

   attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).

                                          3
          Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 4 of 15




14)   Furthermore, since as early as March 2009, Defendant committed breaches of

  contract as to the material terms and wages of employment of the Plaintiff.



                          FACTUAL ALLEGATIONS

             Count 1: Plaintiff Okonkwo Is Entitled to Overtime Pay

 Defendant Callins Violated the Overtime Provisions of the FLSA Willfully

                                   and in Bad Faith

15)   Ms. Okonkwo was employed full-time with Callins Law Firm from December

  2008 until she involuntarily terminated her employment on June 2014. She

  worked an Associate Attorney practicing real estate default law with particular

  emphasis on creditor’s rights.

16)   Ms. Okonkwo was hired as a “non-exempt” employee with a 40-hour

  workweek. That was supposed to include three weeks paid vacation as stipulated

  in her contract of employment.

17)   During the five years preceding the date of this complaint (the “relevant

  period”), Plaintiff Okonkwo worked multiple hours beyond her scheduled hours

  of employment without compensation at one and one-half (1½) times the regular

  rate.




                                          4
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 5 of 15




18)   During the relevant period, Plaintiff Okonkwo worked numerous weeks in

  excess of forty (40) hours in a work week (“overtime hours”), yet was not

  compensated for the work in excess of forty (40) hours at a rate not less than one

  and one-half (1½) times the regular rate she was paid.

19)   The conduct of Defendant in not complying with the Act was willful in failing

  to pay Plaintiff Okonkwo the overtime compensation required by the Act.

  Defendant intentionally and wilfully failed to classify Ms. Okonkwo, or others

  similarly situated, as an exempt employee pursuant to 29 U.S.C. §213(a) (1).

20)   In fact, on one occasion, Plaintiff Okonkwo approached Defendant, and

  advised Defendant of the misclassification of Plaintiff but Defendant willfully

  and intentionally refused to classify Plaintiff as an exempt employee requiring

  Plaintiff to be classified as an hourly employee of $22.75 per hour.

21)   Ms. Okonkwo claims overtime in excess of 200 hours. Ms. Okonkwo

  calculates she is owed in regards to uncompensated overtime pay at least 40.00

  hours for 2009, 40.00 hours for 2010, 40.00 hours for 2011, 40.00 hours for 2012,

  40.00 hours for 2013, and 20 hours for 2014. Ms. Okonkwo is owed in excess of

  200 hours of uncompensated overtime pay.

22)   In performing the acts and practices herein alleged in violation of labor laws

  and refusing to provide the requisite overtime compensation, the Defendant acted

                                         5
        Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 6 of 15




  and continues to act intentionally, oppressively, and maliciously toward the

  Plaintiff, and Persons similarly situated, with a conscious and utter disregard of

  their legal rights or the consequences to such persons, and with the despicable

  intent of depriving them of their property and legal rights and otherwise causing

  them injury in order to increase corporate profits at the expense of Plaintiff and

  persons similarly situated and Has been non-compliance with applicable federal

  laws regarding wage and employment.

23)   Plaintiff Okonkwo is also entitled to recover liquidated damages in this action

  in an equivalent amount to her unpaid overtime compensation pursuant to 29

  U.S.C. §216(b).


COUNT II: INTENTIONAL AND WILFUL REFUSAL TO PAY BONUSES
                   AND VACATION HOURS

24)   Defendant breached their agreement to pay Ms. Okonkwo vacation hours

  during the relevant period as stipulated in the contract of employment.

25)   Defendant breached their agreement to pay Ms. Okonkwo bonuses during the

  relevant period as stipulated in the contract of employment.

26)   Defendant breached their contract to pay for Ms. Okonkwo’s Tennessee

  Privilege and professional tax license and Tennessee Bar dues for 2014.

  Defendant wilfully and intentionally required plaintiff to continue to perform

                                         6
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 7 of 15




  legal work requiring licensure without any intention of renewing the relevant

  professional license.

27)   Defendant breached their contract for failing to pay for the Continuing Legal

  Education (CLE) course necessary for Plaintiff to keep her Professional licenses

  active.

28)     When Plaintiff attempted to ask Mr. Callins about the terms of her

  employment, including bonuses, vacation hours and payment for Bar dues and

  continuing legal education, Mr. Callins responded that he has more pressing

  things that he needed to do which were more important than paying Bar dues and

  CLE fees.

29)     By and through the unfair and unlawful business practices described herein,

  Defendant Callins have obtained valuable property, money, and services from the

  Plaintiff Okonkwo, and persons similarly situated and has deprived Plaintiff

  Okonkwo of valuable rights and benefits guaranteed by law and contract, all to her

  detriment and to the benefit of Defendant Callins.

30)   Plaintiff Okonkwo is entitled to recover her unpaid bonuses for services

  actually performed and vacation hours earned that remains unpaid.




                                        7
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 8 of 15




COUNT III: FLASIFYING OF EMPLOYEE LABOR RECORD BY
DEFENDANT CALLINS

31)   Plaintiff Okonkwo is entitled to recover Liquidated damages for Defendant

  Callins Falsification of Plaintiff’s Labor Department record.

32)   On May 19, 2014, Plaintiff Okonkwo informed Mr. Callins via email that the

  relevant Bar dues and CLE fees were due and needed to be paid by Defendant

  Callins. Plaintiff Okonkwo expressly informed the defendant that the CLE fees

  were due on May 23, 2014 and the Tennessee Bar dues were due on June 1, 2014,

  and Mr. Callins did not respond.

33)   On May 29, 2014, Plaintiff Okonkwo sent a reminder via email to Defendant

  Callins of payment of relevant Bar dues and CLE fees. Plaintiff Okonkwo

  expressly informed the defendant that the CLE fees were past due and the

  Tennessee Bar dues were due on June 1, 2014. Defendant did not respond.

34)   On June 12, 2014, Plaintiff Okonkwo reminded Mr. Callins via email of

  payment of relevant Bar dues and CLE fees. Plaintiff Okonkwo expressly

  informed Mr. Callins that the CLE fees were past due and the Tennessee Bar dues

  were past due. Mr. Callins responded via email stating, he will pay the Georgia

  Bar dues when he pays his dues and will include the Tennessee Bar expenses in

  the paycheck of plaintiff on June 15, 2014.


                                        8
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 9 of 15




35)   On June 23, 2014, Plaintiff Okonkwo, informed Mr. Callins via email of the

  non-payment of the Georgia Bar dues, and the Tennessee Bar dues, Tennessee

  professional privilege tax, and CLE fees in the paycheck of June 15. Mr. Callins

  did not respond.

36)   On June 25, 2014, Plaintiff Okonkwo reminded Mr. Callins via email to

  include the Tennessee Bar expenses on the June 30, 2014 check. Mr. Callins did

  not respond.

37)   On June 26, 2014, Plaintiff reminded Mr. Callins via email of Defendant’s

  nonpayment of Bar dues, CLE fees, vacation hours and bonuses, and informed

  Defendant Callins that the Tennessee Bar membership expires on June 30, 2014,

  and the Tennessee Privilege and professional tax was not in compliance due to

  nonpayment. Plaintiff further stated that if by Monday June 30, 2014, these

  expenses are not paid; the Plaintiff Okonkwo will take it as a negative affirmation

  that Defendant Callins does not require the services of the plaintiff since Plaintiff

  Okonkwo was the only Tennessee Attorney for the firm until she left the firm.

  The Plaintiff also informed Defendant Callins that plaintiff would not be a party

  to unauthorized practice of law. Upon reading the email, Mr. Joel Callins came

  into Plaintiff’s work place and informed Plaintiff Okonkwo, that he had “a

  thousand and one things that are more important than the Bar dues”. Plaintiff

                                          9
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 10 of 15




  Okonkwo explained to Mr. Callins that if the Defendant needs plaintiff to

  perform work with the Tennessee Bar license, then the dues needs to be paid. Mr.

  Callins stated to Plaintiff Okonkwo, that he was not here to argue with Plaintiff

  Okonkwo and Plaintiff Okonkwo at that point did not have any other choice but

  to resign from her employment since Defendant willfully intended to make

  Plaintiff Okonkwo to perform work with a law license that was not in compliance.

  Specifically, Plaintiff Okonkwo informed Mr. Callins that she was ending her

  employment with Defendant Callins, and will be dropping off the office key and

  work computer since she would need the Bar dues paid in order to practice law

  at the firm. Plaintiff Okonkwo immediately dropped off the office key and work

  computer with Mr. Joel Callins, and exited the building since Plaintiff found it

  unconscionable to work under such circumstances as the defendant had created a

  hostile and unprofessional work environment.

38)   On July 2, 2014, Plaintiff Okonkwo received a certified mail from Defendant

  Callins with a letter stating Defendant Callins is terminating Plaintiff

  employment for job abandonment. Specifically, Defendant stated that Plaintiff

  failed to report to work on June 27, 2014 and June 28, 2014 (Saturday). The letter

  also contained what purported to be a final paycheck without showing the number

  of hours worked, standard deductions for Federal and State tax, bonuses, and

                                        10
       Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 11 of 15




  vacation hours for the pay period. The letter also contained a separation notice

  for Georgia Department of Labor with false and malicious statement as to what

  occurred on June 26, 2014 in regards to separation of Plaintiff Okonkwo from the

  employment of the firm.

39)   Plaintiff Okonkwo is entitled to, and does seek an injunctive relief enjoining

  Defendant Callins from engaging in any of these unfair and unlawful business

  practices in the future.

40)   Plaintiff Okonkwo, and the others similarly situated, have no plan, speedy,

  and/or adequate remedy at law that will end the unfair and unlawful business

  practices of Defendant Callins. As a result of the unfair and unlawful business

  practices described above, Plaintiff Okonkwo, and persons similarly situated, have

  suffered and will continue to suffer irreparable harm unless Defendant Callins is

  restrained from continuing to engage in these unfair and unlawful business

  practices. In addition, Defendant should be required to disgorge the unpaid

  moneys to Plaintiff and persons similarly situated.

41)   Defendant Callins actions are unlawful and in violation of public policy; and in

  addition are immoral, unethical, oppressive, and unscrupulous, and thereby

  constitute unfair and unlawful business practices and a hostile work environment.




                                         11
           Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 12 of 15




42)       Plaintiff Okonkwo and persons similarly situated are entitled to and do seek for

   restitution and restitutionary disgorgement, and injunctive relief ordering the

   continuing of unfair business acts and practices to cease, or as the Court otherwise

   deems just and proper.



          WHEREFORE, Plaintiff demands a TRIAL BY JURY and for the following

relief:

a) An award to Plaintiff Okonkwo and others similarly situated, of the overtime pay

   owed.

b) An award to Plaintiff Okonkwo and others similarly situated, of liquidated

   damages against The Callins Law Firm, LLC. for willful violations of the

   overtime Act’s provisions,

c) An award to Plaintiff Okonkwo and others similarly situated, of liquidated

   damages against The Callins Law Firm, LLC. for willful violations and refusal

   to pay bonuses, overtime, and vacation time.

d) For an award of interest, including prejudgment interest at the legal rate;

e) For restitution and restitutionary disgorgement;

f) For injunctive relief ordering the continuing unfair business acts and practices to

   cease,

                                             12
        Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 13 of 15




g) Plaintiff Okonkwo’s reasonable attorney’s fees and costs; and

h) Such other and further relief as this court finds just and proper.



This 16th day of July 2014.

                                        Respectfully submitted,

                                        s/Antonia N. Okonkwo
                                        Antonia N. Okonkwo, Esq.
                                        Georgia Bar No. 513967
                                        anokonkwo@okonkwolaw.com


                                        Okonkwo, LLC.
                                        (The Resilient Law Solution)
                                        11555 Medlock Bridge Road
                                        Suite 100
                                        Johns Creek, Georgia 30097
                                        Telephone: 404-980-2277
                                        Fax: 678-274-0057
                                        Counsel for Plaintiff




                                          13
          Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 14 of 15




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANTONIA N.OKONKWO,           )
                             )
     Plaintiff,              )
                             )               CIVIL ACTION
v.                           )
                             )               FILE NO.
THE CALLINS LAW FIRM, LLC. )
                             )
     Defendant.              )
                             )               JURY TRIAL DEMANDED
____________________________ )

                         CERTIFICATE OF SERVICE
      I hereby certify that on July 16, 2014, I electronically filed the foregoing

COMPLAINT with the Clerk of the Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to the following attorneys of

record:


                          The Callins Law Firm, LLC.
                          C/o Joel Callins
                          Managing Partner
                          101 Marietta Street, Suite 1030
                          Atlanta, Georgia 30303
                          Telephone: 404-681-5826
                          Facsimile: 1-866-299-4388
                          Email: jcallins@callins.com




                                        14
Case 1:14-cv-02263-ELR Document 1 Filed 07/16/14 Page 15 of 15




                                  Respectfully submitted,

                                  s/Antonia N. Okonkwo, Esq.
                                  Antonia N. Okonkwo
                                  Georgia Bar No. 513967
                                  anokonkwo@okonkwolaw.com


                                  OKONKWO, LLC.
                                  (The Resilient Law Solution)
                                  11555 Medlock Bridge Road
                                  Suite 100
                                  Johns Creek, Georgia 30097
                                  Telephone: 404-980-2277
                                  Fax: 678-274-0057
                                  Counsel for Plaintiff




                             15
